                   Case 3:23-cv-00903-MPS Document 65 Filed 07/10/24 Page 1 of 2


                                                                                              JUL 10 2024 nl2:07 r, .
        STATE OF CONNECTICUT                                                              FILED-IJ'.3DC-CT -HARTFOr-.D
        COUNTY OF

        Debtor Name: ARON PURETZ                                                              Case No:
        3:23-CV903(MPS)


 -..,
        The within is a true copy of the original execution now in my hands for collection:
 0
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 -..,
0

~       Execution Balance                           2152787.3599999999
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        Interest
(/J
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~0
0       Marshal's Fee
,:i
0
"'~
::      Total                                                 2152787.36
g:
u,
8                               FOR BANK USE
r
§
~       Order received by US Bank on 06-06-24, answer reviewed and
-..,
(/J
        determined within Federal Title Review period No Accounts
....z   Found
0
(/J

~
m

        A TRUE COPY ATTEST:




        Grant Carragher, State Marshal, Hartford County



                                                                  Processor
        KINDLY MAKE ALL CHECKS PAYABLE TO
        AND MAIL ALL PAYMENTS OR
        COMMUNICATION TO:                                         7/2/2024
                                                                  Date


        Grant Carragher, State Marshall                           Garnishee: U.S. Bank

        P.O. Box 612                                              17650 Sandy Blvd
        Windsor, CT 06095                                         Portland, OR 97294
        (860) 688-3468
            (!llbank.    Case 3:23-cv-00903-MPS Document 65 Filed 07/10/24 Page 2 of 2

            PD-OR-C2GN
            1200 Energy Park Dr
            St Paul, MN 55108




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            HARTFORD, CT 06103
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